USCA4 Appeal: 07-4115   Doc: 96     Filed: 08/14/2008   Pg: 1 of 1




                                                           Filed: August 14, 2008


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                            1100 East Main Street, Suite 501
                             Richmond, Virginia 23219-3517
                                  www.ca4.uscourts.gov

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                              NOTICE TO FILE STATUS REPORT
                                   ___________________

               No. 07-4059 (L), US v. Learley R. Goodwin
                                8:04-cr-00235-RWT


             By order filed 5/22/08, this Court rescinded the briefing
        schedule in these cases because appellants’ counsel had not
        received the necessary transcripts. Appellants’ counsel is
        requested to provide this office with a status report by 8/29/08
        and every 30 days thereafter addressing the status of the
        outstanding transcripts and the expected length of time before
        the case can proceed.

             Reports must be made in writing to the Office of the Clerk.
        The appellants shall immediately notify the Court when the case
        can proceed.



        Sharon A. Wiley
        Deputy Clerk
        804-916-2704



        Cc:   Tracy Dunlap
              Nadine Mercer
